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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-61868-CIV-SINGHAL

 MARIA MERCEDES ANGARITA DE BREWER,
 individually and as Next Friend to her Minor
 Child, J.S.B.A., et al.,

               Plaintiffs,

 v.

 MERRICK B. GARLAND, Attorney General of
 the United States, in his official capacity, et al.,

              Defendants.
      ________________________________________/

                                              ORDER

        THIS CAUSE has come before the Court upon a sua sponte examination of the

 record. Federal Rule of Civil Procedure 4(m) requires service of summons and complaint

 to be perfected upon Defendant within 90 days after the filing of the complaint. Plaintiff

 filed this action on October 5, 2022, and to date, there is no indication in the court file that

 Defendants have been served with the summons and Complaint. It is therefore

        ORDERED AND ADJUDGED that on or before January 12, 2023, Plaintiff shall

 perfect service upon the Defendant or show cause why this action should not be

 dismissed for failure to perfect service of process. Failure to file proof of service or show

 good cause by January 12, 2023, will result in a dismissal without prejudice and without

 further notice.

        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 6th day of

 January 2023.
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    Copy furnished counsel via CM/ECF
